Case 1:22-cv-00334-GBW-CJB Document 105 Filed 08/02/23 Page 1 of 1 PageID #: 6082




                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF DELAWARE


     ILLUMINA, INC.,                                        )
                                                            )
                            Plaintiff,                      )
                                                            )
               v.                                           )    C.A. No. 22-334-GBW-CJB
                                                            )
     GUARDANT HEALTH, INC.; HELMY                           )
     ELTOUKHY; and AMIRALI TALASAZ,                         )
                                                            )
                               Defendants.                  )

                                     STIPULATION OF DISMISSAL

             Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Illumina, Inc.

    (“Plaintiff”) and Defendants Guardant Health, Inc., Helmy Eltoukhy, and Amirali Talasaz

    (collectively, “Defendants”) stipulate as follows:

              1.     All of Illumina’s claims are dismissed with prejudice.

              2.     Each party shall bear its own costs, expenses, disbursements, and attorneys’

    fees incurred in connection with the above-captioned action.

     ASHBY & GEDDES                                    MCCARTER & ENGLISH, LLP

     /s/ Steven J. Balick                              /s/ Alexandra M. Joyce

     Steven J. Balick (#2114)                          Daniel M. Silver (#4758)
     Andrew C. Mayo (#5207)                            Alexandra M. Joyce (#6423)
     500 Delaware Avenue, 8th Floor                    Renaissance Centre
     P.O. Box 1150                                     405 N. King Street, 8th Floor
     Wilmington, DE 19899                              Wilmington, DE 19801
     (302) 654-1888                                    (302) 984-6300
     sbalick@ashbygeddes.com                           dsilver@mccarter.com
     amayo@ashbygeddes.com                             ajoyce@mccarter.com

     Attorneys for Plaintiff                           Attorneys for Defendants




    {01926989;v1 }
